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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO

    YOANIS    PIEDRA,     CAMILO
    HERNANDEZ, and others similarly-
    situated,

               Plaintiffs,

    vs.

    TRANSPORTE         EL   SOL     DE
    AMERICA,       CORP.,   a   Florida
    corporation,    PATRICIA    LAYA
    individually and JOSE M. GUZMAN,
    individually,

           Defendants.
  ___________________________________/

                                          COMPLAINT

          COME NOW Plaintiffs, YOANIS PIEDRA and CAMILO HERNANDEZ, by and through

  their undersigned attorney, hereby sue Defendants, TRANSPORTE EL SOL DE AMERICA,

  CORP., PATRICIA LAYA and JOSE M. GUZMAN, individually (hereinafter collectively

  referred to as “the Employer,” except when referred to individually), and allege:

                        JURISDICTIONAL ALLEGATIONS AND VENUE

          1.      Plaintiffs seek to recover money damages for unpaid minimum wages. This action

  is brought pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (§ 216 for jurisdictional

  placement) (the “FLSA”) and for breach of employment contract. Plaintiff also seeks to recover

  damages for unlawful retaliatory termination of his employment in violation of 29 U.S.C. §

  215(a)(3).

          2.      Plaintiffs are residents of Miami-Dade County, Florida, within the jurisdiction of

  this Honorable Court.
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         3.      The corporate Defendant, TRANSPORTE EL SOL DE AMERICA, CORP., is a

  Florida corporation, which at all times material hereto, was doing business in Miami-Dade County,

  Florida, where Plaintiffs were employed and at all times material hereto were and are engaged in

  interstate commerce.

         4.      The individual Defendants, PATRICIA LAYA and JOSE M. GUZMAN reside in

  Miami-Dade County, Florida.

         5.      This action is brought by Plaintiffs to recover from the Employer claims for unpaid

  minimum wage compensation, as well as an additional amount as liquidated damages, costs and

  reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq., and specifically under

  the provisions of 29 U.S.C. § 206 and for breach of employment contract. Plaintiffs also brought

  this action to recover damages for unlawful retaliatory termination of their employment in

  violation of 29 U.S.C. § 215(a)(3).

         6.      FLSA coverage is triggered because the corporate Defendant is and, at all times

  pertinent to this Complaint, was engaged in interstate commerce. At all times pertinent to this

  Complaint, the Employer operates as an organization which sells and/or markets its services and/or

  goods and/or materials to customers from throughout the United States and also provides its

  services for goods sold and transported from across state lines of numerous other States, and the

  Employer obtains and solicits funds from non-Florida sources, accepts funds from non-Florida

  sources, uses telephonic transmissions going over State lines to do its business, transmits funds

  outside the State of Florida, and otherwise regularly engages in interstate commerce, particularly

  with respect to its employees. Upon information and belief, the annual gross revenue of the

  Employer was at all times material hereto in excess of $500,000.00 per annum, and two or more

  employees handled goods or materials that moved in the stream of commerce on a frequent and
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  recurrent basis, and/or Plaintiffs and those similarly-situated, by virtue of working in interstate

  commerce, otherwise satisfies the FLSA’s requirements. In particular, Plaintiffs were employed

  as truck drivers who engaged in interstate commerce because their job duties required them to

  transport goods and materials across state lines and throughout different states. Maria v. Ryan P.

  Relocator Co., 512 F. Supp. 2d 1249, 1257 (S.D. Fla. 2007).

         7.      Notwithstanding, the retaliatory provisions of the FLSA are triggered regardless of

  whether the corporate entity or the individual Defendants are engaged in commerce. Section 29

  U.S.C. § 215(a)(3) protects “any person” who makes a formal or informal protected expression

  under the FLSA.

         8.      By reason of the foregoing, the Employer is and was, during all times hereafter

  mentioned, an enterprise engaged in commerce or in the production of goods for commerce as

  defined in 29 U.S.C. §§ 203(r) and 203(s) and/or Plaintiffs are within interstate commerce.

                                  PLAINTIFFS’ EMPLOYMENT

               The FLSA Minimum Wage Claim as well as Failure to Make Prompt
                        Payment and Failure to pay any Wages at all

         9.      Defendants employed Plaintiffs as drivers. Plaintiffs worked from approximately

  September 17, 2019 through November 1, 2019. Defendant is a transportation company. Plaintiffs

  were both truck drivers and they were paid at the rate of $00.60 per mile. Both Plaintiffs drove the

  same truck. One Plaintiff would drive while the other Plaintiff accompanied and/or slept on the

  sleeper berth of the truck. That wage was then divided in two and each Plaintiff would receive half

  of the total $00.60 per mile compensation.

         10.     Plaintiffs were engaged on a long-haul trip outside their home for the time period

  of October 24, 2019 through November 1, 2019. Established precedent requires that on such trips

  Plaintiffs be compensated a minimum of 16 hours a day. Julian v. Swift Transp. Co. Inc., 360 F.
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  Supp. 3d 932, 946 (D. Ariz. 2018).

         11.    Plaintiffs’ wages were paid on a weekly basis through direct deposit, due on

  Fridays. The funds due to Plaintiffs would normally clear on Tuesday, the following week. The

  FLSA requires that wages be paid on the day that they are due. The failure to pay the required

  minimum wage of $8.46 per hour when due is a minimum wage violation because the employee

  is effectively paid $0.00 per hour for the particular week in question. The FLSA has a prompt

  payment requirement and the failure to pay on the due date constitutes a minimum wage violation

  triggering entitlement to liquidated damages under the FLSA.

         12.    Defendants refused to pay a wage to Plaintiffs for the period of October 24, through

  November 1, 2019.

                                     COUNT I
                        CLAIM FOR MINIMUM WAGE VIOLATION
                           AND PROMPT PAYMENTAGAINST
                        TRANSPORTE EL SOL DE AMERICA, CORP.

         13.    Plaintiffs re-allege and re-aver paragraphs 1 through 12 as fully set forth herein.

         14.    The FLSA requires that the Employer pay Plaintiffs a required minimum wage per

  hour. The failure to “promptly pay” wages on the day that they were due constitutes a minimum

  wage violation under the FLSA triggering entitlement to liquidated or double minimum wage

  damages. Olson v. Superior Pontiac-GMC, Inc., 765 F.2d 1570, 1579 (11th Cir. 1985), modified

  776 F.2d 265 (11th Cir. 1985); see also Biggs v. Wilson, 1 F.3d 1537, 1530-40 (9th Cir. 1993).

  Defendant failed to pay a minimum wage and failed to timely pay Plaintiffs’ wages on the due

  date and Plaintiffs are entitled to recover the required minimum wage in addition to liquidated

  damages of $8.46 per hour for every hour worked.

         15.    Defendant knew of and showed reckless disregard by failing to promptly pay

  Plaintiffs their wages. Defendant had knowledge of the requirement that employees be paid a wage.
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  Ignorance of the law is not an excuse. Defendant failed to keep adequate time records for hours

  that Plaintiffs worked. Defendant knew or should have known of the work performed by the

  Plaintiffs and of its obligation to timely pay Plaintiffs’ wages, yet failed to do so. Defendant also

  misclassified Plaintiffs as a 1099 employee in order to avoid obligations due to Plaintiffs.

  Defendant failed to promptly pay wages when they became due. Defendant knew of the failure to

  promptly pay or pay Plaintiffs within a reasonable time after the wages were due to Plaintiffs.

  Plaintiffs are entitled to recover liquidated damages.

         16.       The Employer remains owing Plaintiffs these minimum wages since the

  commencement of Plaintiffs’ employment with Defendant as set forth above, and Plaintiffs are

  entitled to an equal amount as liquidated damages. On November 22, 2019, Defendants untimely

  transferred $569.00. This amount should be credited toward the minimum wage violation owed,

  but liquidated damages will still be owed on the entire minimum wage violation, as the payments

  were untimely.

         17.       Plaintiffs have retained the law offices of the undersigned attorney to represent

  them in this action and are entitled to recover a reasonable attorney’s fee.

         WHEREFORE, Plaintiffs request compensatory and liquidated damages and reasonable

  attorney’s fees and costs from the corporate Defendant, jointly and severally with the individual

  Defendants, PATRICIA LAYA and JOSE M. GUZMAN, pursuant to the FLSA, to be proven at

  the time of trial, the minimum wage and liquidated damages due to Plaintiffs remain outstanding.

  In the event that Plaintiffs do not recover double damages, then Plaintiffs seek an award of

  prejudgment interest for the unpaid minimum wages, liquidated damages and attorney’s fees, and

  any and all other relief which this Court deems reasonable under the circumstances.
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                                            COUNT II
                                      INDIVIDUAL LIABILITY
                                     AGAINST PATRICIA LAYA

          18.      Plaintiffs re-allege and re-aver paragraphs 1 through 17 as fully set forth herein.

          19.      The individual Defendant, PATRICIA LAYA, is an FLSA employer, as defined in

  29 U.S.C. § 203(d), as she had operational control over the Defendant corporation and additionally

  was directly involved in decisions affecting employee compensation and hours worked by

  employees, such as Plaintiffs. PATRICIA LAYA also has “some direct responsibility for the

  supervision of the employees.” Moreover, the individual Defendant controlled the purse strings

  for the Defendant corporation as she had and exercised control over bank accounts and employee

  compensation.

          20.      As an FLSA employer, PATRICIA LAYA is liable to Plaintiffs, together with the

  corporate Defendant.

          21.      Defendant knew of and showed reckless disregard by failing to promptly pay

  Plaintiffs their wages. Defendant had knowledge of the requirement of the law. Defendant knew

  or should have known of the work performed by the Plaintiffs and of her obligation to timely pay

  Plaintiffs’ wages. Defendant also misclassified Plaintiff as 1099 employees in order to avoid

  obligations due to Plaintiffs. Defendant failed to promptly pay wages when they became due.

  Defendant knew of the failure to promptly pay or pay Plaintiffs within a reasonable time after the

  wages were due to Plaintiffs. Defendant failed to keep accurate time records of the hours worked

  by Plaintiffs.

          22.      The Employer remains owing Plaintiffs these minimum wages since the

  commencement of Plaintiffs’ employment with Defendant as set forth above, and Plaintiffs are

  entitled to an equal amount as liquidated damages.
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         23.     Plaintiffs have retained the law offices of the undersigned attorney to represent

  them in this action and are entitled to recover a reasonable attorney’s fee.

         WHEREFORE, Plaintiffs request compensatory and liquidated damages and reasonable

  attorney’s fees and costs from Defendant, PATRICIA LAYA, jointly and severally with the

  corporate Defendant, pursuant to the FLSA, to be proven at the time of trial, the minimum wage

  and liquidated damages due to Plaintiffs remain outstanding. In the event that Plaintiffs do not

  recover double damages, then Plaintiffs seek an award of prejudgment interest for the unpaid

  minimum wages, liquidated damages and attorney’s fees, and any and all other relief which this

  Court deems reasonable under the circumstances.

                                           COUNT III
                                     INDIVIDUAL LIABLITY
                                   AGAINST JOSE M. GUZMAN

         24.     Plaintiffs re-allege and re-aver paragraphs 1 through 23 as fully set forth herein.

         25.     The individual Defendant, JOSE M. GUZMAN, is an FLSA employer, as defined

  in 29 U.S.C. § 203(d), as he had operational control over the Defendant corporation and

  additionally was directly involved in decisions affecting employee compensation and hours

  worked by employees, such as Plaintiffs. JOSE M. GUZMAN also has “some direct responsibility

  for the supervision of the employees.” Moreover, the individual Defendant controlled the purse

  strings for the Defendant corporation as he had and exercised control over bank accounts and

  employee compensation.

         26.     As an FLSA employer, JOSE M. GUZMAN is liable to Plaintiffs, together with the

  corporate Defendant.

         27.     Defendant knew of and showed reckless disregard by failing to promptly pay

  Plaintiffs their wages. Defendant had knowledge of the requirement of the law. Defendant knew
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  or should have known of the work performed by the Plaintiffs and of his obligation to timely pay

  Plaintiffs’ wages. Defendant also misclassified Plaintiffs as 1099 employees in order to avoid

  obligations due to Plaintiffs. Defendant failed to promptly pay wages when they became due.

  Defendant knew of the failure to promptly pay or pay Plaintiffs within a reasonable time after the

  wages were due to Plaintiffs. Defendant failed to keep accurate time records of the hours worked

  by Plaintiffs.

          28.      The Employer remains owing Plaintiffs these minimum wages since the

  commencement of Plaintiffs’ employment with Defendant as set forth above, and Plaintiffs are

  entitled to an equal amount as liquidated damages.

          29.      Plaintiffs have retained the law offices of the undersigned attorney to represent

  them in this action and are entitled to recover a reasonable attorney’s fee.

          WHEREFORE, Plaintiffs request compensatory and liquidated damages and reasonable

  attorney’s fees and costs from Defendant, JOSE M. GUZMAN, jointly and severally with the

  corporate Defendant, pursuant to the FLSA, to be proven at the time of trial, the minimum wage

  and liquidated damages due to Plaintiffs remain outstanding. In the event that Plaintiffs do not

  recover double damages, then Plaintiffs seek an award of prejudgment interest for the unpaid

  minimum wages, liquidated damages and attorney’s fees, and any and all other relief which this

  Court deems reasonable under the circumstances.

                                          COUNT IV
                                RETALIATION, 29 U.S.C. § 215(a)(3),
                                 THE CORPORATE DEFENDANT
                                 AS WELL AS AGAINST GUZMAN

          30.      Plaintiffs re-allege and re-aver paragraphs 1-8 as fully set forth herein.

          31.      Plaintiffs worked for Defendants as drivers. Plaintiffs worked outside their homes

  on a long-haul trip from October 24, 2019 through November 1, 2019. When their wages became
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  due, Defendant GUZMAN refused to pay Plaintiffs their wages when they became due. Plaintiffs

  made a protected expression when they demanded their due wages and complained about

  Defendants illegal refusal to pay their wages. Consequently, Defendants unlawfully retaliated by

  terminating Plaintiffs’ employment.

         32.    Florida Minimum Wage requires an Employer to pay its Employees a rate not less

  than $8.46 per hour from January 1, 2019 through the present.

         33.    Plaintiffs were unlawfully terminated on or about November 1, 2019, after they

  engaged in an activity protected by the FLSA.

         34.    Defendants unlawfully terminated Plaintiffs. Plaintiffs suffered an adverse

  employment action as a result of their complaint demanding the pay required by law. Plaintiffs’

  employment termination was in retaliation for making a protected expression (i.e., demanding the

  wages demanded by law and Plaintiffs had reasonable good faith belief that they were making a

  demand for the pay required by law).

         35.    As a result of the unlawful termination, Plaintiffs are entitled to recover, back pay,

  lost wages, front pay, emotional damages as well as all other damages allowed by law.

         36.    Defendants violated 29 U.S.C. § 215(a)(3) of the FLSA; and showed reckless

  disregard for the provisions of the FLSA in retaliating against Plaintiffs for demanding unpaid

  minimum wage damages. The violation was willful or in reckless disregard of the FLSA which

  prohibits retaliatory action when an employee makes a protected expression.

         37.    By reason of the foregoing acts of the Employer, Plaintiffs have suffered damages,

  including lost income, benefits and employer contributions. Plaintiffs are entitled to recover

  liquidated damages (double damages) pursuant to the Statute.
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          38.     The violations were intentional and with reckless disregard for the law because

   Defendants knew or should have known that Plaintiffs were entitled to be paid the required

   minimum wage and terminated Plaintiffs in retaliation for their valid claim.

          39.     Plaintiffs are entitled to recover costs and reasonable attorney’s fees pursuant to the

   FLSA, 29 U.S.C. § 216(b).

          WHEREFORE, Plaintiffs demand judgment against the corporate Defendant as well as

   GUZMAN, jointly and severally, for violation of 29 U.S.C. § 215(a)(3), including all damages

   allowed by the FLSA for retaliatory acts by the employer, including, back pay, liquidated damages,

   emotional damages, reasonable attorney’s fees and costs of suit, and for all proper relief including

   pre-judgment interest.

                                     COUNT V
                  BREACH OF EMPLOYMENT, CORPORATE DEFENDANT
                    FAILURE TO PAY THE WAGE DUE TO PLAINTIFFS

          40.     Plaintiffs re-allege and re-aver paragraphs 1-8 as fully set forth herein.

          41.     Defendant is a transportation company. Defendant employed Plaintiffs as drivers.

   Plaintiffs worked from approximately September 17, 2019 through November 1, 2019.

          42.     The parties reached a mutual consent as to the terms of the oral employment

   agreement. Plaintiffs were both truck drivers and they were paid at the rate of $00.60 per mile.

   Both Plaintiffs drove the same truck. One Plaintiff would drive while the other Plaintiff

   accompanied and/or slept on the sleeper berth of the truck. Plaintiffs would report their hours and

   Defendants would pay them a total amount for all hours worked. That wage was then divided in

   two and each Plaintiff would receive half of the total $00.60 per mile compensation. Defendant

   refused to pay a wage to Plaintiffs for the period of October 24, through November 1, 2019.
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          43.     Plaintiffs were engaged on a long-haul trip outside their home for the time period

   of October 24, 2019 through November 1, 2019. During that trip, they travelled a total of 6,691

   miles and are each owed half of $4,014.20 (6,691 x $00.60 = $4,014.60), or $2,007.30. On

   November 22, 2019, Defendants untimely transferred $569.00 to Plaintiffs’ bank account and

   remain owing each Plaintiff a balance of $1,438.30.

          44.     In addition, Plaintiffs incurred expenses and pursuant to the employment

   agreement, Defendant was required to make additional stops and were paid $25.00 per additional

   stop. During the trip, Plaintiffs made five additional stops and are owed an additional $125.00.

   Plaintiffs would also advance costs of the work and Defendant was required to reimburse them

   pursuant to the employment agreement. Plaintiffs advanced $35.00 in expenses and Defendants

   refuse to compensate them.

          45.     Plaintiffs have complied with all conditions precedent to filing this action.

          46.     Plaintiffs have retained the Law Offices of Eddy Marban and are obligated to pay

   a reasonable attorney’s fee. Plaintiffs are entitled to recover reasonable attorney’s fees pursuant to

   Florida Statute § 448.08.

          WHEREFORE, Plaintiffs respectfully request that the court enter judgment against the

   Corporate Defendant awarding them damages for breach of the employment contract, together

   with prejudgment interests, attorney’s fees and costs of this action, and any and all other relief

   which the Court deems just and equitable.

                                            JURY DEMAND

          Plaintiffs demand trial by jury of all issues triable as of right by jury.
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